875 F.2d 315Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Fred MURPHY, Petitioner-Appellant,v.Jim G. BULLOCK, Attorney General of the State of NorthCarolina, Respondents-Appellees.
    No. 89-6545.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 18, 1989.Decided May 11, 1989.
    
      Fred Murphy, appellant pro se.
      Richard Norwood League, Clarence Joe DelForge, III, Office of the Attorney General of North Carolina, for appellees.
      Before MURNAGHAN, CHAPMAN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Fred Murphy seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Murphy v. Bullock, C/A No. 88-295-HC (E.D.N.C. Feb. 13, 1989).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    